                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE



  ANDREW JOSTEN LOVINGOOD,

                Plaintiff,
  v.
                                                                   No. 3:19-cv-00009
  BILL JOHNSON, DERRICK GRAVES;

                Defendants.


               MEMORANDUM IN SUPPORT OF MOTION IN LIMINE NO. 6

         Plaintiff previously submitted jury instructions concerning the requirement that

  Defendants act under color of law. No instructions are necessary as this Defendant

  already admitted in his answer that he acted under color of law. Accordingly, it is

  respectfully submitted that Defendant’s Motion in Limine No. 6 be granted and no

  instructions concerning color of law be submitted to the jury.

         RESPECTFULLY SUBMITTED this 15th day of November, 2021.


                                                   s/ Arthur F. Knight, III
                                                   Arthur F. Knight, III, BPR #016178
                                                   TAYLOR & KNIGHT, P.C.
                                                   800 South Gay Street, Suite 600
                                                   Knoxville, TN 37929
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                                CERTIFICATE OF SERVICE




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         I hereby certify that on November 15, 2021, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt. All other parties will be
  served by U.S. Mail. Parties may access this filing through the Court’s electronic filing
  system.


                                              s/Arthur F. Knight, III
                                              Arthur F. Knight, III




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